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                                                                                      2016 Nov-29 PM 02:51
                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA


 1
                         UNITED STATES DISTRICT COURT
 2
                    FOR THE NORTHERN DISTRICT OF ALABAMA
 3                              Tuscaloosa Division
 4
                                                  )
 5   REVETTE MADDOX,                              )
                                                  )
 6                 Plaintiff,                     ) C.A. No.:
 7
                                                  )
     v.                                           )
 8                                                )
     BRIDGECREST ACCEPTANCE                       )
 9
     CORPORATION D/B/A                            ) COMPLAINT AND DEMAND FOR
10   BRIDGECREST,                                 ) JURY TRIAL
                                                  )
11
                      Defendant.                  )
12

13                                          COMPLAINT

14         REVETTE MADDOX (“Plaintiff”), by and through her attorneys, KIMMEL
15
     &    SILVERMAN,            P.C.,   alleges   the   following   against   BRIDGECREST
16
     ACCEPTANCE CORPORATION D/B/A BRIDGECREST (“DEFENDANT”):
17

18                                        INTRODUCTION
19
           1.      Plaintiff’s Complaint is based on the Telephone Consumer Protection
20

21   Act, 47 U.S.C. §227.
22
                                  JURISDICTION AND VENUE
23
           2.      Jurisdiction of this Court arises under 28 U.S.C. § 1331. See Mims v.
24

25
     Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).

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 1         3.      Defendant regularly conducts business in the State of Alabama, thus,
 2
     personal jurisdiction is established.
 3
           4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 4

 5                                           PARTIES

 6         5.      Plaintiff is a “person” as that term is defined by 47 U.S.C. §153(39).
 7
           6.      Plaintiff is a natural person residing in Northport, Alabama 35476.
 8
           7.      Defendant is a “person” as that term is defined by 47 U.S.C. §
 9

10   153(39).
11
           8.      Defendant is a corporation with its principal place of business located
12
     at 7300 E Hampton Avenue, Mesa, Arizona 85209.
13

14
           9.      Defendant acted through its agents, employees, officers, members,

15   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
16
     representatives, and insurers.
17
                                FACTUAL ALLEGATIONS
18

19         10.     Plaintiff has a cellular telephone.

20         11.     Plaintiff has only used this phone as a cellular telephone.
21
           12.     Beginning in or around November 2015 and continuing through
22
     October 2016, Defendant placed repeated telephone calls to Plaintiff’s cellular
23

24   telephone number seeking to collect an account balance.

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 1         13.      Defendant used an automatic telephone dialing system, automated
 2
     message and/or prerecorded voice when contacting Plaintiff.
 3
           14.      Plaintiff knew that Defendant was using an automatic telephone
 4

 5   dialing system, automated message and/or prerecorded voice because the calls

 6   would begin with a recording before transferring the calls to live agents.
 7
           15.      Defendant’s telephone calls were not made for “emergency purposes;”
 8
     rather, Defendant was attempting to collect an alleged balance on Plaintiff’s
 9

10   account.
11
           16.      It was annoying and harassing for Plaintiff to be called on her cellular
12
     telephone with such frequency.
13

14
           17.      Desiring to stop the repeated telephone calls, Plaintiff spoke with

15   Defendant’s callers in or around November 2015 to advise them that she no longer
16
     wanted to be contacted on her cellular telephone, thereby revoking any consent that
17
     may have been previously given to Defendant to contact her on this number.
18

19         18.      Once Defendant was aware that its calls were unwanted, its continued

20   calls could have served no purpose other than harassment.
21
           19.      Defendant heard and acknowledged Plaintiff’s instructions to stop
22
     calling her.
23

24         20.      However, Defendant failed to update its records to restrict telephone

25   calls to Plaintiff’s cellular telephone.
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 1         21.    Defendant continued to call Plaintiff on her cellular telephone.
 2
           22.    After Plaintiff’s repeated requests to stop the calls were ignored by
 3
     Defendant, she had no other viable alternative but to block calls from Defendant’s
 4

 5   phone numbers.

 6         23.    Upon information and belief, Defendant conducts business in a
 7
     manner which violates the TCPA.
 8

 9

10                             COUNT I
              DEFENDANT VIOLATED THE TELEPHONE CONSUMER
11
                            PROTECTION ACT
12
           24.    Plaintiff incorporates the forgoing paragraphs as though the same were
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14
     set forth at length herein.

15         25.    Defendant initiated multiple automated telephone calls to Plaintiff’s
16
     cellular telephone number.
17
           26.    Defendant’s initiated these automated calls to Plaintiff using an
18

19   automatic telephone dialing system.

20         27.    Defendant repeatedly placed non-emergency calls to Plaintiff’s
21
     cellular telephone.
22
           28.    Under § 227(b)(3)(A) of the TCPA, a person or entity may bring a
23

24   private cause of action in an appropriate court based on a violation of the TCPA or

25   the regulations prescribed under the TCPA to enjoin such violation.
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 1         29.    Under § 227(b)(3)(B) of the TCPA, a person or entity may bring a
 2
     private cause of action in an appropriate court “to recover for actual monetary loss
 3
     from such a violation, or to receive $500 in damages for each such violation
 4

 5   whichever is greater.”

 6         30.    Based upon the conduct of Defendant, Plaintiff avers that the
 7
     enhancement of damages provided for by the TCPA allowing for Plaintiff to
 8
     recover up to $1,500 per call/violation be applied to calls placed.
 9

10         31.    Defendant’s conduct violated § 227(b)(1)(A)(iii) of the TCPA by
11
     placing repeated calls using an automatic telephone dialing system to Plaintiff’s
12
     cellular telephone.
13

14
           32.    Defendant’s calls to Plaintiff’s cellular telephone after she revoked

15   consent were not made with Plaintiff’s prior express consent.
16
           33.    Defendant’s acts as described above were done with malicious,
17
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
18

19   under the law and with the purpose of harassing Plaintiff.

20         34.    The acts and/or omissions of Defendant were done unfairly,
21
     unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
22
     lawful right, legal defense, legal justification or legal excuse.
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 1          35.    As a result of the above violations of the TCPA, Plaintiff has suffered
 2
     the losses and damages as set forth above entitling Plaintiff to an award of
 3
     statutory, actual and trebles damages.
 4

 5

 6                                  PRAYER FOR RELIEF
 7
        WHEREFORE, Plaintiff, REVETTE MADDOX, respectfully prays for a
 8
     judgment as follows:
 9

10                 a.      All actual damages suffered pursuant to 47 U.S.C. §
11
                           227(b)(3)(A);
12
                   b.      Statutory damages of $500.00 per violative telephone call
13

14
                           pursuant to 47 U.S.C. § 227(b)(3)(B);

15                 c.      Treble damages of $1,500.00 per violative telephone call
16
                           pursuant to 47 U.S.C. §227(b)(3);
17
                   d.      Injunctive relief pursuant to 47 U.S.C. § 227(b)(3); and
18

19                 e.      Any other relief deemed appropriate by this Honorable Court.

20

21
                                DEMAND FOR JURY TRIAL
22
            PLEASE TAKE NOTICE that Plaintiff, REVETTE MADDOX, demands a
23

24   jury trial in this case.

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                                      PLAINTIFF’S COMPLAINT
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 1                               RESPECTFULLY SUBMITTED,
 2
     Dated: November 29, 2016   By: /s/ Joseph C. Hoeffel
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                                Attorney for Plaintiff
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                                PLAINTIFF’S COMPLAINT
